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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

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RANAE M. ULRICH, pro se, ) CASENO.  1:22-cv-01848
)
Plaintiff, ) JUDGE DAVID A. RUIZ
)
Vv. )
)
FORD MOTOR COMPANY, et al., ) JUDGMENT ENTRY
)
Defendants. }

Consistent with the Order of Dismissal of this Court also filed this date, the Defendants’
Motions to Dismiss the Amended Complaint, (R. 37; R. 38), are GRANTED.

IT IS SO ORDERED.

Dated: September 27, 2024 si Daud 4. Rucz

David A. Ruiz
United States District Judge

